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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.       EDCV 20-1576 JGB (SPx)                               Date April 21, 2022
  Title Andres Campos, et al. v. Converse, Inc., et al.


  Present: The Honorable        JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


             MAYNOR GALVEZ                                             Not Reported
                 Deputy Clerk                                         Court Reporter


     Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                 None Present                                          None Present

  Proceedings:     Order (1) GRANTING Plaintiff’s Motion for Preliminary Approval of
                   Class Action Settlement (Dkt. No. 23); and (2) VACATING the April 25,
                   2022 Hearing (IN CHAMBERS)

         Before the Court is Plaintiff Andres Campos’s motion for preliminary approval of class
 action settlement. (“Motion,” Dkt. No. 23.) The Court finds this matter appropriate for
 resolution without a hearing. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed
 in support of the Motion, the Court GRANTS the Motion and VACATES the April 25, 2022
 hearing.

                                             I. BACKGROUND

         On May 29, 2020, Mr. Campos, individually on behalf of himself and other persons
 similarly situated, filed a class action complaint against Defendant Converse, Inc. (“Converse”)
 and Does 1 through 10 (collectively, “Defendants”) in the Superior Court of California for the
 County of San Bernardino. (“Complaint,” Dkt. No. 1-1.) The Complaint alleges five causes of
 action under California law: (1) failure to pay compensation due; (2) meal period violations; (3)
 rest period violations; (4) failure to pay wages timely upon termination; and (5) violation of
 California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17203. (Id.)

       On July 31, 2020, Converse answered. (“Answer,” Dkt. No. 1-3.) On August 7, 2020,
 Converse removed the action. (“Notice of Removal,” Dkt. No. 1.)

        On February 17, 2022, Mr. Campos filed the instant Motion. In support, he attached the
 following documents:

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                    Declaration of Peter R. Dion-Kindem (“Dion-Kindem Declaration,” Dkt. No. 23-
                     2), with attached exhibits;
                    Settlement Agreement (“Agreement,” Dion-Kindem Decl., Ex. 1);
                    Proposed Notice Form (“Class Notice,” Agreement, Ex. 1);
                    Declaration of Lonnie C. Blanchard III (“Blanchard Declaration,” Dkt. No. 23-3);
                     and
                    Declaration of Andres Campos (“Campos Declaration,” Dkt. No. 23-4).

        On April 7, 2022, the Court ordered Mr. Campos to file supplemental briefing on how the
 proposed settlement classes meet the requirements of Federal Rules of Civil Procedure 23(a) and
 23(b). (Dkt. No. 29.) Mr. Campos filed a supplemental memorandum on April 13, 2022.
 (“Supplemental Memorandum,” Dkt. No. 30.)

         Converse has not filed an opposition or notice of non-opposition.

                                          II. LEGAL STANDARD

         Approval of a class action settlement requires certification of a settlement class. La Fleur
 v. Med. Mgmt. Int’l, Inc., 2014 WL 2967475, at *2–3 (C.D. Cal. June 25, 2014) (internal
 quotation marks omitted). A court may certify a class if the plaintiff demonstrates the class
 meets the requirements of Federal Rule of Civil Procedure 23(a) and at least one of the
 requirements of Rule 23(b).1 See Fed. R. Civ. P. 23; see also Valentino v. Carter-Wallace, Inc.,
 97 F.3d 1227, 1234 (9th Cir. 1996). Rule 23(a) contains four prerequisites to class certification:
 (1) the class must be so numerous that joinder is impracticable; (2) there must be questions of law
 or fact common to the class; (3) the claims of the class representative must be typical of the other
 class members; and (4) the representative parties must fairly and adequately protect the interests
 of the class. Fed. R. Civ. P. 23(a). Rule 23(b) requires one of the following: (1) prosecuting the
 claims of class members separately would create a risk of inconsistent or prejudicial outcomes;
 (2) the party opposing the class has acted or refused to act on grounds that apply generally to the
 class, so that final injunctive or declaratory relief benefitting the whole class is appropriate; or (3)
 common questions of law or fact predominate so that a class action is superior to another method
 of adjudication. Fed. R. Civ. P. 23(b).

         For preliminary approval, the Court also “must make a preliminary determination on the
 fairness, reasonableness, and adequacy of the settlement terms.” Fed. R. Civ. P. 23(e). “The
 settlement need only be potentially fair, as the Court will make a final determination of its
 adequacy at the hearing on Final Approval.” Acosta v. Trans Union, LLC, 243 F.R.D. 377, 386
 (C.D. Cal. 2007). A court considers the following fairness factors: the strength of the plaintiff’s
 case; the risk, expense, complexity, and likely duration of further litigation; the risk of
 maintaining class action status throughout the trial; the amount offered in settlement; the extent

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          All references to “Rule” in this Order refer to the Federal Rules of Civil Procedure
 unless otherwise noted.

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 of discovery completed, and the stage of the proceedings; the experience and views of counsel;
 the presence of a governmental participant; and the reaction of the class members to the
 proposed settlement. Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2003).

                                    III. SETTLEMENT AGREEMENT

 A. Settlement Summary

         The Agreement provides for the following financial terms:

                Gross settlement amount:                                      $450,000.00
                Attorneys’ fees (one-third of gross settlement):              $150,000.00
                Costs not to exceed:                                          $15,000.00
                Service award for class representative:                       $8,500.00
                Settlement administration costs not to exceed:                $8,000.00
                Net Settlement Amount:                                        $268,500.00

 (Agreement ¶¶ 18, 30, 37; Dion-Kindem Decl. ¶¶ 19–24; Mot. at 9–10.) This is a non-
 reversionary settlement. (Dion-Kindem Decl. ¶ 13.) Any uncashed checks will be deemed void,
 and the proceeds will go to Justice Gap Fund. (Agreement ¶ 47.)

          As discussed in detail below, the Agreement recognizes two classes: (1) Unpaid Wages
 Class, and (2) Section 203 Class. (Id. ¶ 6.) One-third of the net settlement amount will be
 distributed to the Unpaid Wages Class, and the remaining two-thirds will be distributed to the
 Section 203 Class. (Mot. at 11; Dion-Kindem Decl. ¶¶ 26–29.) If more than ten percent (10%) of
 Class Members timely request to opt-out, Converse will have the option, in its sole discretion, to
 nullify the Agreement. (Agreement ¶ 45.)

 B. Financial Terms

         1. Settlement Class Members

         The Agreement defines two classes:

         Class 1: Unpaid Wages Class: All non-exempt employees employed by Converse,
         Inc. at any of Converse, Inc.’s two warehouse facilities in California at any time
         during the period beginning four years prior to the date of the filing of this action
         and ending on the date of preliminary approval or as otherwise determined by the
         Court.

         Class 2: Section 203 Class: All members of any of Class 1 who, during the period
         beginning three years prior to the date of the filing of this action and ending on the
         date of preliminary approval or as otherwise determined by the Court, were either
         voluntarily or involuntarily separated from their employment.

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 (Agreement ¶ 6.)

         One-third of the net settlement amount will be allocated to the Unpaid Wages Class. (Id.
 ¶ 46.a.) Each Unpaid Wage Class Member’s gross earnings from Converse, or “Individual Class
 Member Payroll,” will be added together for all Class Members to form the “Total Class
 Members’ Payroll.” Each Individual Class Member Payroll will be divided by the Total Class
 Members’ Payroll to determine each Class Member’s percentage figure. The percentage figure
 is then multiplied by the Unpaid Wage Class net settlement amount to yield each Class
 Member’s settlement share.

         Two-thirds of the net settlement amount will be allocated to the Section 203 Class. (Id. ¶
 46.b.) Each Section 203 Class Member who does not opt-out will receive a pro rata share of the
 net settlement amount. (Id.)

         Thirty percent (30%) of each individual settlement payment will be treated as wages and
 subject to tax withholdings. (Id., § 8.)

         2. Payment and Distribution of Funds

         Within thirty days of the Court’s approval of the instant Motion, Converse shall provide
 the Settlement Administrator with the following information for each Class Member: name, last-
 known address, social security number (if available to Converse), and gross wages Converse paid
 to each Class Member during the class period. (Agreement ¶ 42.) With this data, the Settlement
 Administrator will calculate each Class Member’s net settlement share using employee data
 provided by Converse and the methodology noted above. (Id. ¶ 46.) The Settlement
 Administrator shall provide initial calculations of each Class Member’s share to Class Counsel
 and Converse’s Counsel prior to mailing out the Class Notice form and within fifteen days after
 the opt-out deadline. (Id.)

         Subject to final approval, a settlement fund will be established pursuant to a Court order.
 (Id. ¶ 40.) Within thirty days after final approval of the Agreement, Converse will deposit the
 gross settlement amount to the settlement fund. (Id.) The Settlement Administrator shall be
 responsible for preparing and issuing all checks to the Settlement Class Members, the check to
 the Named Plaintiff, all checks to Class Counsel, all checks for settlement administration
 approved by the Court, and any other payments included in the Agreement and approved by the
 Court. (Id. ¶ 46.) The Settlement Administrator will prepare and mail all necessary checks to the
 appropriate persons and entities within ten calendar days of the Effective Date. (Id. ¶¶ 15, 46.)
 Any check not negotiated 180 days after the date on the settlement check will be deemed void,
 and the proceeds will go the Justice Gap Fund. (Id. ¶ 47.)

        The Settlement Administrator shall also be responsible for establishing, administering,
 and otherwise operating the settlement fund, including the preparation and filing of federal, state,
 and local tax returns. (Id. ¶ 40.)

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         3. Class Representative

         The Agreement authorizes an incentive award of $8,500.00 to Mr. Campos for his efforts
 in bringing and prosecuting this matter and the risks he undertook. (Agreement ¶ 48; Mot. at
 10.)

         4. Settlement Administration Costs

       The parties request that the Court appoint CPT Group (“CPT”) as the Settlement
 Administrator. (Mot. at 9.) The Agreement allocates $8,000.00 to administer the settlement.
 (Agreement ¶ 46.c.)

         5. Attorneys’ Fees and Costs

          The Agreement provides that Class Counsel will apply for $150,000.00 in attorneys’ fees,
 an amount that represents one-third (33.33%) of the gross settlement amount, and $15,000.00 in
 litigation costs. (Agreement ¶ 49.) Converse agrees not to oppose this fee request. (¶¶ 49–50.)

         6. Injunctive Relief

         The Agreement does not include any injunctive relief.

         7. Release

        Upon the Effective Date, each Class Member will be deemed to have fully and finally
 released the following claims against Converse and other Released Parties:

         all claims, demands, obligations, actions, causes of action, liabilities, debts,
         promises, agreements, demands, attorney fees, costs, losses, and expenses, known
         or unknown, suspected or unsuspected, filed or unfiled against the Released
         Parties that existed during the Class Period and that were alleged or could have
         been alleged in and arose out of the facts alleged in the operative complaint in the
         Action, including, but not limited to, all claims for meal periods, meal period
         premium payments, unpaid wages including failure to pay minimum wages,
         straight time compensation, unpaid overtime and double-time, rest periods, rest
         period premium payments, payment for all hours worked, including off-the-clock
         work, and waiting time penalties. The released claims include but are not limited
         to claims brought under California Labor Code sections 201, 202, 203, 204, 223,
         226, 226.7, 510, 512, 1194, 1194.2, 1197, 1197.1, 1198, 2802, California Business
         and Professions Code sections 17200-17208, and the Industrial Welfare
         Commission Wage Orders. Such claims include claims for wages, statutory
         penalties, civil penalties, or other relief under the California Labor Code and any
         other related state, federal or municipal law, relief from unfair competition under

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         California Business and Professions Code section 17200 et seq., attorney fees and
         costs, and interest.

 (Agreement ¶ 51.)

         Released Parties is defined as

         Converse, Inc. and its past, present and future agents, employees, servants,
         officers, directors, partners, trustees, representatives, shareholders, stockholders,
         attorneys, parents, subsidiaries, equity sponsors, related corporations, divisions,
         joint venturers, assigns, predecessors, successors, service providers, insurers,
         consultants, subcontractors, joint employers, alleged joint employers, dual
         employers, alleged dual employers, co-employers, alleged co-employers, alter-
         egos, alleged alter-egos vendors, temporary staffing providers, affiliates, employee
         benefit plans and fiduciaries thereof, affiliated organizations and entities, and all
         persons acting under, by, through or in concert with any of them.

 (Id. ¶ 24.)

        In addition, Mr. Campos agrees to a general release of all claims, including a waiver under
 Cal. Civ. Code § 1542. (Id. ¶ 52.)

         8. Notice

        The Class Notice includes information about the case, the class definition, the terms of
 the proposed Agreement, and opt-out procedures. (Mot. at 12; see Class Notice.)

         As noted above, Converse shall provide, within thirty days of the Court’s approval of the
 instant Motion, the Settlement Administrator with contact information for each Class Member,
 and gross wages Converse paid to each Class Member during the class period. (Agreement ¶ 42.)
 Within fifteen calendar days after receipt of the employee data, the Settlement Administrator
 shall send the Class Notice to each Class Member by first class mail. (Id. ¶ 43; see Class Notice.)
 For undelivered notices, the Settlement Administrator will take reasonable steps to trace the
 Class Member’s address, such as by tracking all undelivered mail, performing additional address
 searches using additional address databases or equivalent means, and promptly re-mailing Class
 Notice to Class Members for whom new addresses were found. (Agreement ¶ 43.) The
 Settlement Administrator will provide Class Counsel and Converse’s counsel weekly updates on
 the number of undeliverable notices, the number of opt-outs, and any objections or disputes by
 Class Members.

        The opt-out deadline for Class Members will be sixty calendar days after the Settlement
 Administrator’s initial mailing of Class Notice. (Id. ¶ 20.) The Settlement Administrator shall
 maintain records of all opt-outs and withdrawal of opt-outs. (Id. ¶ 44.) Within five business days
 following the opt-out deadline, the Settlement Administrator shall provide Converse’s counsel

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 with a complete list of Class Members who timely opted out, and provide counsel for the Class
 and Converse a copy of all objections and supporting documents received. (Id.) Within ten days
 after the opt-out deadline, the Settlement Administrator will provide Class Counsel and
 Converse’s counsel a declaration, which includes a statement of due diligence and proof of
 mailing of Class Notice to the Class Members, and a statement of the number of opt-outs and
 objections received. (Id. ¶ 43.) Class Counsel shall provide this information to the Court as part
 of the motion for final approval of the Agreement.

         The Court notes that the Agreement lists Lonnie C. Blanchard III, Peter R. Dion-
 Kindem, and Jeff Holmes as Class Counsel, but the Class Notice does not include Mr. Holmes,
 nor does Mr. Holmes name appear anywhere else in the Motion. (Agreement ¶ 5; Class Notice
 at 8.) Therefore, the parties should revise the Agreement to remove Mr. Holmes’s name as
 Class Counsel.

        IV. CONDITIONAL CERTIFICATION OF THE PROPOSED SETTLEMENT
                                   CLASS

         The parties seek certification of the proposed settlement class for purposes of the
 Agreement. (Mot. at 13.) The Court first addresses the Rule 23(a) requirements and then turns
 to the Rule 23(b) requirements.

 C. Requirements of Rule 23(a)

         1. Numerosity

         A class satisfies the prerequisite of numerosity if it is so large that joinder of all class
 members is impracticable. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). To be
 impracticable, joinder must be difficult or inconvenient, but need not be impossible. Keegan v.
 Am. Honda Motor Co., 284 F.R.D. 504, 522 (C.D. Cal. 2012). There is no numerical cutoff for
 sufficient numerosity. Id. However, 40 or more members will generally satisfy the numerosity
 requirement. Id. A plaintiff has the burden to establish that this requirement is satisfied. United
 Steel, Paper & Forestry, Rubber, Mfg. Energy v. Conoco Phillips Co., 593 F.3d 802, 806 (9th Cir.
 2010). Here, Mr. Campos estimates that there are (1) 401 Class Members in the Unpaid Wages
 Class, and (2) 143 Class Members in the Section 203 Class. (Suppl. Mem. at 4, 7.) Accordingly,
 the Court finds that both classes are sufficiently numerous.

         2. Commonality

         The commonality requirement is satisfied when plaintiffs assert claims that “depend
 upon a common contention … capable of classwide resolution—which means that a
 determination of its truth or falsity will resolve an issue that is central to the validity of each one
 of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

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        Mr. Campos asserts that the following questions of law and fact are common to the
 respective Class Members:

         Unpaid Wages Class: Whether Defendants paid class members for all hours worked as
          required by California law for time spent waiting for and giving through mandatory
          security processes to exit the facility.

         Section 203 Class: Whether Defendants willfully failed to timely pay all wages due to
          Plaintiff and class members upon the termination of their employment.

 (Suppl. Mem. at 4, 7.) Accordingly, Mr. Campos has established commonality.

          3. Typicality

         “The purpose of the typicality requirement is to assure that the interest of the named
 representative aligns with the interests of the class.” Hanon v. Dataproducts Corp., 976 F.2d
 497, 508 (9th Cir. 1992). “The test of typicality is whether other members have the same or
 similar injury, whether the action is based on conduct which is not unique to the named plaintiff,
 and whether other class members have been injured by the same course of conduct.” Wolin v.
 Jaguar Land Rover No. Am., 617 F.3d 1168, 1175 (9th Cir. 2010) (quoting Hanon, 976 F.2d at
 508). Because typicality is a permissive standard, the claims of the named plaintiff need not be
 identical to those of the other class members. Hanlon, 150 F.3d at 1020.

       Here, Mr. Campos argues that his claims arise from the same practice and course of
 conduct as all Class Members:

          Unpaid Wages Class: Mr. Campos claims that he, like the putative Class Members, is a
 non-exempt warehouse worker employed by Converse in one of two facilities in California.
 (Suppl. Mem. at 4–5.) He asserts that during the Class Period, Converse implemented uniform
 and mandatory exit security procedures at those facilities, which required employees to submit to
 a visual inspection, pat themselves down, and open bags for inspection whenever they exited the
 facilities. (Id. at 5.) Mr. Campos and the putative Class Members were subject to these security
 procedures when they left to take meal and rest breaks and at the end of their shifts after they had
 clocked out. (Id.) Converse did not compensate Mr. Campos or Class Members for the time
 spent waiting for and undergoing the security procedures. (Id.)

         Section 203 Class: In addition to the above, Mr. Campos claims that Converse terminated
 his and the putative Section 203 Class Members’ employment and willfully failed to pay them for
 all outstanding wages for their time. (Id. at 7–8.)

          Accordingly, the Court concludes that Mr. Campos has met the typicality requirement.

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         4. Adequacy

         When determining whether a proposed class representative will adequately protect the
 interests of the class, the court should ask whether the proposed class representative and her
 counsel have any conflicts of interest with any class member and whether the proposed class
 representative and his counsel will prosecute the action vigorously on behalf of the class.
 Johnson v. General Mills, Inc., 275 F.R.D. 282, 288 (C.D. Cal. 2011).

         Mr. Campos and his counsel do not have any conflicts of interest with any Class Member.
 (Dion-Kindem Decl. ¶¶ 10–11; Blanchard Decl. ¶¶ 6–7; Campos Decl. ¶ 2.) Mr. Campos
 declares that he understands his role as a fiduciary to Class Members and that he not only
 considers Class Members’ interests as his own but also places their interests before his own.
 (Campos Decl. ¶¶ 3–4.) He has spent many hours vigorously prosecuting the action on behalf of
 Class Members and believes that he has fairly represented their interests. (Id. ¶¶ 5, 7.) In
 addition, Mr. Campos’s counsel are experienced in wage and hour litigation, including class
 actions. (Dion-Kindem Decl. ¶¶ 4–9; Blanchard Decl. ¶¶ 3–5.) Under these circumstances, the
 Court finds that Mr. Campos and his counsel will adequately represent the putative Class
 Members’ interests.

 D. Requirements of Rule 23(b)

        “In addition to satisfying Rule 23(a)’s prerequisites, parties seeking class certification
 must show that the action is maintainable under Rule 23(b)(1), (2), or (3).” Amchem Prod., Inc.
 v. Windsor, 521 U.S. 591, 614 (1997).

         Mr. Campos asserts that the Agreement satisfies Rule 23(b)(3). (Mot. at 16–19.) Rule
 23(b)(3) requires: (1) issues common to the whole class to predominate over individual issues,
 and (2) that a class action be a superior method of adjudication for the controversy. Fed. R. Civ.
 P. 23(b)(3). The predominance “inquiry tests whether proposed classes are sufficiently cohesive
 to warrant adjudication by representation.” Hanlon, 150 F.3d at 1022 (quoting Amchem, 521
 U.S. at 623). “[T]he examination must rest on ‘legal or factual questions that qualify each class
 member’s case as a genuine controversy, questions that preexist any settlement.’” Id. (same). A
 class should not be certified if the issues of the case require separate adjudication of each
 individual class member’s claims. Id.

         A class action must also be superior to other methods of adjudication for resolving the
 controversy. Fed. R. Civ. P. 23(b)(3). To determine superiority, a court’s inquiry is guided by
 the following pertinent factors:

         (A) the class members’ interests in individually controlling the prosecution or defense of
             separate actions;
         (B) the extent and nature of any litigation concerning the controversy already begun by or
             against class members;



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          (C) the desirability or undesirability of concentrating the litigation of the claims in the
              particular forum; and
          (D) the likely difficulties in managing a class action.

  Fed. R. Civ. P. 23(b)(3)(A)–(D). However, “[confronted] with a request for settlement-only
  class certification, a district court need not inquire whether the case, if tried, would present
  intractable management problems … for the proposal is that there be no trial.” Amchem, 521
  U.S. at 620.

          As discussed above, questions common to the Unpaid Wages Class and Section 203 Class
  exist. They present a significant aspect of the case and can be resolved for all Class Members in a
  single adjudication. Mr. Campos’s and Class Members’ claims are susceptible to common proof,
  which principally focuses on Converse’s conduct rather than the behavior of individual Class
  Members. (Mot. at 17; Suppl. Mem. at 6–8.) All Class Members seek damages. (Dion-Kindem
  Decl. ¶¶ 13–14.) Therefore, common questions predominate.

          Moreover, Mr. Campos contends that the class mechanism is the most effective method
  for resolving the claims the Class Members. He asserts that Class Members do not wish to
  pursue their claims on an individual basis because the cost of litigation would outpace their
  potential recovery. (Mot. at 19; Dion-Kindem Decl. ¶¶ 13–14.) The putative Class Members,
  who are hourly employees with limited resources, would find individual litigation difficult and
  prohibitively expensive and would likely abandon their claims as a result. (Mot. at 18–19.) Given
  the large size of the two proposed Classes, adjudication of Class Members’ claims in a single
  action promotes efficiency and judicial economy. (Id. at 18.) Accordingly, the Court finds the
  superiority requirement has been met.

         In sum, the Court concludes that the Unpaid Wages Class and Section 203 Class satisfy
  the requirements for conditional class certification under Rule 23(a) and Rule 23(b).

                     V. PRELIMINARY APPROVAL OF THE SETTLEMENT

           The Court must next determine whether the Agreement “is fundamentally fair, adequate,
  and reasonable.” Hanlon, 150 F.3d at 1026. This inquiry involves a number of factors, including
  “the strength of the plaintiff’s case, the risk, expense, complexity, and likely duration of further
  litigation, the risk of maintaining class action status throughout trial, the amount offered in
  settlement, the extent of discovery completed, and the stage of the proceedings, the experience
  and views of counsel, the presence of a governmental participant, and the reaction of the class
  members to the proposed settlement.” Stanton, 327 F.3d at 959 (internal citations omitted).
  The settlement may not be a product of collusion among the negotiating parties. In re Mego Fin,
  Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000) (citing Class Plaintiffs v. City of Seattle, 955
  F.2d 1268, 1290 (9th Cir. 1992)).

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           “At the preliminary approval stage, some of the factors cannot be fully assessed.
  Accordingly, a full fairness analysis is unnecessary.” Litty v. Merrill Lynch & Co., 2015 WL
  4698475, *8 (C.D. Cal. Apr. 27, 2015). Rather, the court need only decide whether the
  settlement is potentially fair, Acosta, 243 F.R.D. at 386, in light of the strong judicial policy in
  favor of settlement of class actions. Class Plaintiffs, 955 F.2d 1276. “[T]he court’s intrusion
  upon what is otherwise a private consensual agreement negotiated between the parties to a
  lawsuit must be limited to the extent necessary to reach a reasoned judgment that the agreement
  is not the product of fraud or overreaching by, or collusion between, the negotiating parties, and
  that the settlement, taken as a whole, is fair, reasonable and adequate to all concerned.” Hanlon,
  15 F.3d at 1027.

  A. Extent of Discovery and Stage of the Proceedings

          For a court to approve a proposed settlement, “[t]he parties must … have engaged in
  sufficient investigation of the facts to enable the court to intelligently make an appraisal of the
  settlement.” Acosta, 243 F.R.D. at 396 (internal quotation marks omitted).

          Prior to settlement, the parties engaged in extensive discovery. (Mot. at 19.) Converse
  provided Mr. Campos with extensive payroll and time-keeping data, and Mr. Campos’s counsel
  reviewed and analyzed these documents. (Id.) Based on this data, the parties estimated
  Converse’s maximum exposure and used that figure to determine the gross settlement amount.
  (Dion-Kindem Decl. ¶ 40.) Both parties took depositions—Mr. Campos deposed Converse’s
  Rule 30(b)(6) witness, and Converse deposed Mr. Campos. (Mot. at 20.) Moreover, the parties
  conducted a full day of mediation on September 29, 2021 before Steve Ceveris, a well-respected
  mediator. (Dion-Kindem Decl. ¶ 16.) Based on these facts, the Court finds that each side
  maintains a “clear view of the strengths and weaknesses of their [respective] cases,” such that
  this factor weighs in favor of preliminary approval. Lewis v. Starbucks Corp., 2008 WL 4196690,
  at *6 (E.D. Cal. Sept. 11, 2008).

  B. Amount Offered in Settlement

         To determine whether the amount offered in settlement is fair, a court compares the
  settlement amount to the parties’ estimates of the maximum amount of damages recoverable in a
  successful litigation. In re Mego, 213 F.3d at 459. “‘It is well-settled law that a cash settlement
  amounting to only a fraction of the potential recovery does not per se render the settlement
  inadequate or unfair.’” Id. at 459 (quoting Officers for Justice v. Civil Serv. Comm’n, 688 F.2d
  615, 628 (9th Cir. 1982)).

         The Court finds that the gross settlement amount of $450,000.00 provided in the
  Agreement is fair and reasonable and provides meaningful relief to Class Members. To calculate
  damages, Mr. Campos’s counsel assumed maximum exposure and multiplied two minutes (the
  estimated time spent undergoing Converse’s security protocols) by the overtime rate. (Dion-
  Kindem Decl. ¶¶ 40.) Based on this calculation and the employee data Converse provided, Mr.
  Campos’s counsel estimated that Mr. Campos’s damages were $247,000.00, and that

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  Converse’s maximum exposure for 203 claims2 was $511,000.00. (Id.) The gross settlement
  amount of $450,000.00 is within the range of potential recovery and reasonable given certain
  weaknesses and risks in Mr. Campos’s case. (Id.)

  C. Strength of Case and Risk, Expense, Complexity, and Likely Duration of Litigation

           Mr. Campos argues that the value of the Agreement outweighs the risk of proceeding
  with litigation in light of the challenges to prevailing on his claim. The case involves complex and
  disputed legal and factual issues. (Mot. at 21.) Converse maintains it has a good faith defense
  and believes it would prevail at the summary judgment stage. (Id.; Dion-Kindem Decl. ¶ 41.)
  Class certification poses additional risks for Mr. Campos. (Mot. at 21; Dion-Kindem Decl. ¶ 41.)
  Mr. Campos further understands that if he loses, he could be ordered to pay Converse’s
  attorney’s fees and litigation costs. (Campos Decl. ¶ 6.) While Mr. Campos fails to identify the
  specific weaknesses in his case or what litigation remains, the Court finds that he has somewhat
  shown that the risk of further litigation weighs in favor of preliminary approval. However, the
  Court warns Mr. Campos that he must provide detailed information on the merits of Mr.
  Campos’s and Class Members’ claims at the final approval stage.

  D. Experience and Views of Counsel

           “Great weight is accorded to the recommendation of counsel, who are most closely
  acquainted with the facts of the underlying litigation.” Nat’l Rural Telecomms. Coop. v.
  DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (internal citation and quotation marks
  omitted). As noted above, Mr. Campos’s counsel holds extensive experience in complex, wage
  and hour class action litigation in state and federal courts. (Dion-Kindem Decl. ¶¶ 4–9;
  Blanchard Decl. ¶¶ 3–5.) His counsel believes the Agreement is “fair, reasonable, adequate, and
  is in the best interests of the Class.” (Blanchard Decl. ¶ 2.) Accordingly, the Court finds this
  factor weighs in favor of preliminary approval.

  E. Collusion Between the Parties

         “To determine whether there has been any collusion between the parties, courts must
  evaluate whether ‘fees and relief provisions clearly suggest the possibility that class interests gave
  way to self interests,’ thereby raising the possibility that the settlement agreement is the result of
  overt misconduct by the negotiators or improper incentives for certain class members at the
  expense of others.” Litty, 2015 WL 4698475, at *10 (quoting Staton, 327 F.3d at 961).

         Mr. Campos asserts that the proposed settlement agreement is a result of non-collusive
  negotiations after the parties conducted a full day of mediation before a well-respected mediator.
  (Mot. at 19.) The use of a mediator experienced in the settlement process tends to establish that

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           Mr. Campos’s counsel fails to explain why he only estimated damages for 203 claims,
  rather than the 401 Class Members. While the Court assumes that he only received information
  for 203 claims, Mr. Campos should fully explain this figure at the final approval stage.

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  the settlement process was not collusive. See, e.g., Satchell v. Fed Ex. Corp., 2007 WL 1114010,
  at *4 (N.D. Cal. Apr. 13, 2007).

          The Court also reviews the financial terms of the Agreement. First, a net settlement
  amount of $268,500.00 will be distributed among Class Members. As noted above, one-third of
  this amount will be allocated to the Unpaid Wages Class, and two-thirds will be allocated to the
  Section 203 Class. (Agreement ¶¶ 46.a–b.) Unpaid Wages Class Members receive a percentage
  figure based on their hours worked, while Section 203 Class Members receive a pro rata share.
  (Id.) While this allocation ultimately seems reasonable, the Court notes that Mr. Campos offers
  no estimate of Class Members’ average recovery or range of recovery. The Court recommends
  that Mr. Campos provide this information at the final approval stage.

           Second, the Agreement provides a service award of $8,500.00 to Mr. Campos.
  (Agreement ¶ 48.) A court may grant a modest incentive award to a class representative, both as
  an inducement to participate in the suit and as compensation for the time spent in litigation
  activities. See In re Mego, 213 F.3d at 463 (finding the district court did not abuse its discretion
  in awarding an incentive award to the class representatives). The Court notes that this award is
  slightly higher than those that other courts have found reasonable. See, e.g., Urakhchin v. Allianz
  Asset Mgmt. of Am., L.P., 2018 WL 8334858, at 7–8 (C.D. Cal. July 30, 2018) (approving
  incentive award of $7,500.00). The Court is also unable to compare how the service award
  compares to other Class Members’ recoveries. However, Mr. Campos declares that he has
  vigorously participated in the litigation. Though he does not state how many hours he has
  worked on the case, he has taken the following actions: obtained and communicated with his
  counsel on many occasions about the case; assisted in gathering information; reviewed
  documents; provided information for pleadings; assisted in identifying and talking to witnesses;
  prepared for and attended his deposition; provided information for damages calculations and
  reviewed those calculations; and signed documents.3 (Campos Decl. ¶ 5.) In addition, Mr.
  Campos notes that he undertakes risks associated with having a public record that shows he
  brought a class action for unpaid wages against his former employer. (Id. ¶ 6.) The Court
  preliminarily finds that the class representative award is potentially reasonable.

          Finally, the Agreement provides for Mr. Campos’s counsel to recover $150,000.00 in
  attorneys’ fees, or one-third of the gross settlement, and $15,000.00 in litigation costs.
  (Agreement ¶¶ 18.b-c; ¶ 49.) The requested attorneys’ fees exceed the 25% benchmark that
  courts in the Ninth Circuit generally find reasonable. Hanlon, 150 F.3d at 1029 (“This circuit
  has established 25% of the common fund as a benchmark award for attorney fees.”). However,
  the Court may cross-check the requested fees using the lodestar method. Fischel v. Equitable
  Life Assurance Soc’y of U.S., 307 F.3d 997, 1006 (9th Cir. 2002). The declarations submitted by
  Mr. Campos’s counsel show that they have applied a downward multiplier of nearly fifty percent
  to reach the requested fee amount. The Court preliminarily finds that the requested attorney’s

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          It is not clear from the Motion whether Mr. Campos participated in the day-long
  mediation on September 29, 2021. Mr. Campos should provide this information at the final
  approval stage.

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  fee amount is reasonable. However, the Court will further scrutinize counsel’s lodestar at the
  final approval stage, including through any timesheets and evidence to justify the requested
  hourly rates and analysis of the factors listed in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67,
  69–70 (9th Cir. 1975), abrogated on other grounds by City of Burlington v. Dague, 505 U.S. 557
  (1992).4 The Court will also consider the reasonableness of the requested costs then.

  F. Remaining Factors

         In addition to the factors discussed above, the Court may consider the presence of a
  governmental participant and the reaction of the class members to the proposed settlement.
  Staton, 327 F.3d at 959 (internal citations omitted). At this stage, the Court cannot fully analyze
  the remaining factors. The Class Members have yet to receive notice of the Agreement and have
  not had an opportunity to comment or object to its terms. The Court directs Mr. Campos, in the
  motion for final settlement approval, to provide briefing on these issues.

          In sum, the Court concludes that the factors above, on balance, show that the Agreement
  is potentially fair, adequate, and reasonable and support preliminary approval.

                                           VI. CONCLUSION

        For the foregoing reasons, the Court GRANTS Mr. Campos’s Motion for Preliminary
  Approval of Class Action Settlement, and VACATES the April 25, 2022 hearing. The Court
  ORDERS as follows:

      1. The Settlement Agreement is preliminarily approved as potentially fair, reasonable, and
         adequate. However, in their motion for final approval, Mr. Campos shall address the
         concerns raised above.

      2. The following Settlement Classes are certified for settlement purposes only:

          Class 1: Unpaid Wages Class: All non-exempt employees employed by Converse,
          Inc. at any time of Converse, Inc.’s two warehouse facilities in California at any
          time during the period beginning four years prior to the date of the filing of this


          4
            In Kerr, the Ninth Circuit adopted the 12–factor test articulated in Johnson v. Georgia
  Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974) which identified the following factors for
  determining reasonable fees: (1) the time and labor required, (2) the novelty and difficulty of the
  questions involved, (3) the skill requisite to perform the legal service properly, (4) the preclusion
  of other employment by the attorney due to acceptance of the case, (5) the customary fee, (6)
  whether the fee is fixed or contingent, (7) time limitations imposed by the client or the
  circumstances, (8) the amount involved and the results obtained, (9) the experience, reputation,
  and ability of the attorneys, (10) the “undesirability” of the case, (11) the nature and length of the
  professional relationship with the client, and (12) awards in similar cases. Kerr, 526 F.2d at 70.

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         action and ending on the date of preliminary approval or as otherwise determined
         by the Court.

         Class 2: Section 203 Class: All members of any of Class 1 who, during the period
         beginning three years prior to the date of the filing of this action and ending on the
         date of preliminary approval or as otherwise determined by the Court, were either
         voluntarily or involuntarily separated from their employment.

     3. The Court appoints Lonnie C. Blanchard III of The Blanchard Law Group, APC and
        Peter R. Dion-Kindem of Peter R. Dion-Kindem, P.C. to serve as Class Counsel on behalf
        of the Settlement Classes for purposes of settlement only.

     4. Plaintiff Andres Campos is appointed as the representative of the Settlement Classes for
        purposes of settlement only.

     5. The Court appoints CPT Group, Inc. as the settlement administrator.

     6. The Class Notice forms are approved with the corrections raised above.

     7. The Court authorizes distribution of Class Notice to the Class Members pursuant to the
        Agreement.

     8. The hearing date for the Final Fairness Hearing is hereby set for Monday, August 15,
        2022 at 9:00 a.m. in Courtroom 1 of the United States District Court for the Central
        District of California, Eastern Division located at 3470 12th Street, Riverside, California
        92501.


  IT IS SO ORDERED.




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